         Case 1:24-cv-00497-DG-JAM Document 6 Filed 01/23/24 Page 1 of 1 PageID #: 19

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Eastern District
                                                 __________         of of
                                                             District  New  York
                                                                          __________

                         Mala Sharma                              )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.
                                                                  )
                                                                         Civil Action No.    24CV497 DG-JAM
        Open Door NY Home Care Services, Inc.                     )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Open Door NY Home Care Services, Inc., 2816 41st Avenue, Long Island City, NY
                                       11101




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Law Office of David Wims, 1430 Pitkin Avenue, 2nd Floor, Brooklyn, NY 11233;
                                       646-393-9550; dwims@wimslaw.com




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                            BRENNA B. MAHONEY
                                                                            CLERK OF COURT


Date:     1/23/2024
                                                                                       Signature of Clerk or Deputy Clerk
